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                                 Exhibit 2



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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               UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS



    IN RE:   PHARMACEUTICAL INDUSTRY         MDL NO. 1456

    AVERAGE WHOLESALE PRICE LITIGATION       Civil Action:

                                             01-CV-12257-PBS

    THIS DOCUMENT RELATES TO U.S.            Judge Patti B. Saris

    Ex rel. Ven-A-Care of the Florida        Magistrate Judge

    Keys, No. 06-CV-11337-PBS                Marianne B. Blower

                                         /




         The Videotaped Deposition of SANDRA KRAMER,

         Taken at 2860 Eyde Parkway,

         East Lansing, Michigan,

         Commencing at 9:08 a.m.,

         Tuesday, March 25, 2008,

         Before Cynthia A. Chyla, CSR 0092.




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                                                                               Page 2
  1
      APPEARANCES:
  2

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                                                                             Page 79
 1    AWP had to be discounted?
 2          A.      Yes.
 3          Q.      What was the basis of your belief that AWP
 4    had to be discounted to estimate the acquisition cost
 5    to providers?
 6          A.      It was my understanding that pharmacies did
 7    not pay AWP for their drugs.
 8          Q.      And if you look at your Affidavit, in
 9    particular Paragraph 8, it starts:                "During
10    implementation of the new policy in 1995, I performed
11    simulation studies on Medicaid expenditures to assure
12    that the new policy would remain budget neutral."
13                              Could you describe for me what the
14    simulation studies entailed?
15          A.      Previous to implementation of the EAC policy
16    the State of Michigan paid, or reimbursement technique
17    I think would be a better way of explaining it, was
18    based on actual acquisition cost, and when we were
19    mandated to implement EAC, we were mandated to do it in
20    a budget neutral fashion so that additional
21    expenditures would not occur.             And, so, the simulation
22    studies that I performed were based on claims that were


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                                                                             Page 80
 1    paid under the actual acquisition costs -- can I -- is
 2    it --
 3          Q.      Sure.
 4          A.      -- fair to say AAC?
 5          Q.      We'll use AAC for actual acquisition costs;
 6    EAC for estimated acquisition costs.
 7          A.      And, so, I took claims that were paid under
 8    the AAC policy and, you know, came up with percentages
 9    that represented the average discount off of AWP.
10          Q.      Okay.     And you personally did those studies;
11    is that right?
12          A.      I was innately involved in doing those
13    studies.     A programmer helped me.
14          Q.      Who was the programmer who helped you?
15          A.      I just remember Andy.
16          Q.      Okay.     Now, you mentioned that when there
17    was the switch from AAC to an EAC payment methodology,
18    that it was to remain budget neutral.
19                              Now, tell me if I'm right on what
20    budget neutral means.          Am I correct that budget neutral
21    means that the amount you were paying for prescription
22    drugs on the AAC system would have to remain the same


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                                                                             Page 86
 1    AWPs were inflated over a pharmacy's purchase cost well
 2    before 2001?
 3                              MR. HENDERSON:        Objection to the
 4    form.
 5                              MR. MATUS:      Well is a vague term.
 6          A.      Yeah, I don't understand your well.
 7    BY MR. GABEL:
 8          Q.      You understood it before 2001; right?
 9          A.      My understanding was that for brand name
10    drugs, AWP minus 13 1/2 for, you know, stores that had
11    one to four, and four -- I'm sorry, I'm forgetting the
12    policy, it's been so long.            But if I had the bulletin
13    in front of me.        What was issued in the bulletin would
14    be reflective of the pharmacy's cost.
15          Q.      Okay.     We'll look at the bulletin in a
16    second, but I just want to finish up this document.
17                              And you -- with respect to generics,
18    not brands?
19          A.      Oh, in respect to generics, because of --
20    can you rephrase your question again?
21          Q.      Sure.     With respect to generics, you knew
22    before 2001 that AWPs for generics were inflated over


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 1    what the purchasers were actually paying for the drugs?
 2          A.      What I knew is that our maximum allowable
 3    cost drug prices which I felt were representative of
 4    the purchasing costs were definitely lower than the
 5    AWPs reported by manufacturers.
 6          Q.      And the MACs were for generic drugs; right?
 7          A.      In the main.
 8          Q.      I'm sorry?
 9          A.      In the main.
10          Q.      What do you mean by that?
11          A.      Predominantly.
12          Q.      Okay.     Were there other drugs besides
13    generics included on the MAC list?
14          A.      Yes.
15          Q.      So were some brand names on the MAC list?
16          A.      Yes.
17          Q.      What -- well, who determined which drugs
18    made it onto the MAC list?
19          A.      They were based on which drugs were the
20    highest volume and highest cost.
21          Q.      So regardless --
22          A.      It depends on the time period, you know,


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                                                                           Page 208
 1          A.      I'm sort of confused.            I recognize those
 2    also by another name, like Medicaid AWPs.
 3          Q.      Okay.
 4          A.      That were available from First DataBank.
 5          Q.      Now, the Medicaid AWPs which I'll refer to
 6    as DOJ AWPs -- is that fair --
 7          A.      Yes, um-hmm.
 8          Q.      -- to use those terms interchangeably?
 9                              Did you have any involvement in
10    Michigan Medicaid's decision to either adopt those AWPs
11    or not adopt those AWPs?
12          A.      Before I left the department, I did initial
13    research and I believe I wrote up one memo on the issue
14    that I can at least remember from seeing from my files.
15          Q.      Okay.     What was the subject matter of the
16    memo you wrote, to the best you can recall?
17          A.      I would have to look at it again.                 I'm
18    sorry.
19          Q.      Did you make a recommendation on whether the
20    DOJ AWPs should be used?
21          A.      I was hesitant about whether they should be
22    used.


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                                                                           Page 209
 1          Q.      And why were you hesitant?
 2          A.      I was unclear about the maintenance process
 3    for the prices.
 4          Q.      What do you mean by the maintenance process?
 5          A.      How they would be updated.
 6          Q.      If you look at the second page of Abbott
 7    Exhibit 670, I guess the second, third -- the second
 8    and third page, is that your handwriting?
 9          A.      No.
10          Q.      Do you know whose handwriting that is?
11          A.      I'm uncertain.
12          Q.      Okay.     Did you do any comparisons of how the
13    DOJ's AWPs compared to Michigan's MACs?
14          A.      I remember doing so, yes.
15          Q.      Do you recall what the results of that
16    analysis were?
17          A.      Not in detail, no.
18          Q.      Do you have a general recollection of how
19    the DOJ AWP stacked up against the Michigan MAC prices?
20          A.      I think our prices were competitive, but,
21    again, it's been a long time.
22          (EXHIBIT ABBOTT 671


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 1                             With regard to Abbott Exhibit 652,
 2    which is a copy of the transcript of your earlier
 3    testimony and in 2001 --
 4           A.     Yes.
 5           Q.     -- when was the last time you read this
 6    transcript, if ever?
 7           A.     I believe shortly after it was written, so
 8    ....
 9           Q.     Sometime in 2001?
10           A.     Yes.
11           Q.     So six and a half years ago or so?
12           A.     Yes.
13           Q.     Okay.     Is it possible that if you read it
14    today there could be some error that you're not aware
15    of today?
16           A.     Yes.
17           Q.     Is it possible that there could be some
18    statement that if you were to review it today you would
19    phrase it differently?
20           A.     Yes.
21           Q.     Just to be clear with regard to the
22    methodology, the reimbursement methodology in effect


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                                                                           Page 256
 1    before September 1st, 1995, and let us say generally
 2    for the time period 1991 up through September 1st,
 3    1995, the pharmacy -- am I correct in understanding
 4    that the pharmacy was generally to bill the lower of
 5    the actual acquisition cost or the usual and customary
 6    amount?
 7         A.       Yes.
 8         Q.       And then the agency would apply a screen
 9    often consisting of AWP minus 10 percent?
10                             MR. GABEL:       Objection; form.
11    BY MR. HENDERSON:
12         Q.       Is that a fair description of the
13    reimbursement methodology at that time?
14         A.       What was the time period?
15         Q.       1991 up through September 1995?
16         A.       There was also direct pricing involved.
17         Q.       Okay.     So the screen could involve AWP minus
18    10 percent, and also perhaps a reference to a direct
19    price?
20         A.       Yes.
21                             MR. GABEL:       Objection; form.
22                             MR. HENDERSON:         Okay.


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                                                                           Page 257
 1    BY MR. HENDERSON:
 2         Q.       And in addition you also testified that a
 3    MAC could limit the amount of reimbursement on a drug?
 4         A.       Yes.
 5         Q.       Now, with regard to Exhibit -- Abbott
 6    Exhibit 659, in a discussion of actual acquisition cost
 7    on the second page, this states that the acquisition
 8    costs must reflect trade and quantity discounts,
 9    rebate, free goods and price concessions.
10                             Can you tell us whether or not you
11    understood that -- whether or not pharmacists believed
12    that the actual acquisition cost methodology was
13    cumbersome?
14                             MR. GABEL:       Objection; form.
15    BY MR. HENDERSON:
16         Q.       Did you ever hear complaints to that effect?
17         A.       Yes.
18         Q.       And is that because they needed to take into
19    account these various price concessions that are
20    described here in Abbott Exhibit 659?
21                             MR. GABEL:       Objection; calls for
22    speculation.


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                                                                           Page 258
 1         A.       They complained how they would track it in
 2    their computer systems.
 3    BY MR. HENDERSON:
 4         Q.       Did they complain about the administrative
 5    burdens?
 6         A.       Yes.
 7         Q.       Is that because a pharmacist would typically
 8    dispense numerous different types of drugs manufactured
 9    by a number of different manufacturers?
10                             MR. GABEL:       Objection; form.
11    BY MR. HENDERSON:
12         Q.       And that this would complicate the task of
13    trying to come up with actual acquisition costs to
14    bill?
15         A.       Yes.
16                             MR. GABEL:       Objection.
17    BY MR. HENDERSON:
18         Q.       Okay.     Do you have any understanding as to
19    whether the desire to change from an actual acquisition
20    cost methodology to an estimated acquisition cost
21    methodology was prompted in part by these
22    administrative burdens?


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 1         A.       As I mentioned before, I knew those
 2    concerns, but I wasn't involved in why that particular
 3    boiler plate was put in place and the negotiations to
 4    do so.
 5         Q.       Okay.     There was a period of time when you
 6    were working to evaluate and study the changeover to an
 7    estimated acquisition cost methodology in 1994 and '95,
 8    I think you testified about that; right?
 9         A.       Yes.
10         Q.       And I think you also said you had -- in
11    connection with that work you had meetings with
12    pharmacists and the pharmacists association?
13         A.       Yes.
14         Q.       Did you also receive comment letters from
15    pharmacists relating to the proposed change in
16    methodology?
17         A.       Yes.
18         Q.       And in those meetings and comment letters,
19    did -- did pharmacists express support for the change
20    in methodology?
21         A.       The draft policy was sent to interested
22    parties, including not only pharmacists but


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                                                                           Page 262
 1                             MR. GABEL:       Objection; calls for
 2    speculation.
 3         A.       I don't know.
 4    BY MR. HENDERSON:
 5         Q.       You don't?
 6         A.       (Shakes head.)
 7         Q.       Okay.     Do you know whether the governor of
 8    Michigan who signed the 1995 -- 1994 Appropriations Act
 9    shared your understanding of the term average wholesale
10    price?
11                             MR. GABEL:       Objection.
12         A.       Likely not.
13    BY MR. HENDERSON:
14         Q.       Okay.     In 1995 did you have any
15    understanding that average wholesale prices as
16    published in the pricing compendia had no relation at
17    all to actual prices?
18         A.       Could you repeat that again for me.
19         Q.       Did you have any understanding one way or
20    the other that the average wholesale prices that were
21    published in the compendia had no relation at all to
22    actual prices?


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                                                                           Page 263
 1                              MR. GABEL:       Objection; form.
 2          A.      I thought that having a standard discount
 3    would be the representation of actual acquisition
 4    costs.
 5    BY MR. HENDERSON:
 6          Q.      Did you understand in 1995 that drug
 7    manufacturers were causing specific AWPs to be
 8    published for the purpose of increasing reimbursements
 9    to their customers?
10                              MR. GABEL:       Objection; form.
11          A.      No.
12    BY MR. HENDERSON:
13          Q.      Do you have any reason to believe that the
14    Michigan legislators understood that?
15                              MR. GABEL:       Objection.
16                              MR. CYR:      Objection.
17          A.      I wouldn't have any knowledge.
18    BY MR. HENDERSON:
19          Q.      Did -- do you recall anything in the
20    materials that -- I think -- I'm sorry, let me start
21    over again.
22                              I think you testified earlier that


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 1    you submitted a report, possibly more, to one or more
 2    members of the Michigan legislature?
 3         A.       I personally wouldn't have; the department,
 4    Michigan Department of Community Health or Department
 5    of Social Services.
 6         Q.       Submitted that?
 7         A.       Would have submitted that.
 8         Q.       Thank you for correcting me.
 9                             Do you recall anything in any of the
10    materials that you understood were submitted to the
11    Michigan legislature that informed the legislature that
12    drug manufacturers were responsible for setting average
13    wholesale prices?
14                             MR. GABEL:       Objection; form.
15         A.       I do not.
16    BY MR. HENDERSON:
17         Q.       Now, turning to Abbott Exhibit 657, please.
18                             Now, this report I believe you said
19    that you prepared.         Did you prepare this before you
20    undertook a detailed study of pricing information from
21    the agency's actual acquisition cost data system?
22         A.       Yes.


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 1         Q.       So you had not looked carefully at the
 2    actual acquisition cost pricing information at the time
 3    you wrote this; correct?
 4         A.       No.
 5                             MR. GABEL:       Objection; form.
 6    BY MR. HENDERSON:
 7         Q.       And you had not yet spoken or heard from the
 8    pharmacists' association about some of their comments
 9    on that data; is that correct?
10         A.       No -- or, yes, I hadn't heard from them.
11         Q.       All right.
12         A.       I'm sorry.
13         Q.       Turning to page 8 of Abbott Exhibit 657, and
14    the language under the bolded heading Average Wholesale
15    Price, the third sentence says:              "Procurement costs are
16    based on a discounted price off AWP or wholesaler
17    acquisition costs plus a percent."
18                             Can you tell us what you meant in
19    that sentence or what your understanding was at that
20    time?
21         A.       My understanding was that pharmacists paid
22    for drugs based on a discounted AWP or a wholesale or


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 1    acquisition cost markup.
 2         Q.       So, did you have an understanding at that
 3    time that AWP prices did have a fairly predictable
 4    relationship to actual procurement costs?
 5                             MR. GABEL:       Objection.
 6                             MR. CYR:      Objection; form.
 7         A.       Yes.    It was my understanding they were the
 8    benchmark.
 9    BY MR. HENDERSON:
10         Q.       Okay.     Now, the term estimated acquisition
11    cost was a term used --
12                             MR. HENDERSON:         I'm sorry, I need to
13    get a drink.      Can we take a short break.
14                             THE VIDEOGRAPHER:          Going off the
15    record at 3:19 and 2 seconds p.m.
16               (Short recess taken.)
17                             THE VIDEOGRAPHER:          We're back on the
18    record of the 3:27 and 14 seconds p.m.
19    BY MR. HENDERSON:
20         Q.       Now, before we broke, Ms. Kramer, we were
21    talking about Abbott Exhibit 657, which is a report
22    that you prepared in March of 1994.               And in this you


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                                                                           Page 267
 1    addressed issues relating to a change to using
 2    estimated acquisition cost as a basis for
 3    reimbursement; is that right?
 4         A.       Yes.
 5         Q.       And the term estimated acquisition cost, was
 6    your understanding of that term based on the plain
 7    meaning of those words?
 8                             MR. GABEL:       Objection; form.
 9         A.       Yes.    Federal regulations referred to states
10    must -- I would have to look at the regulations, but
11    there's a reference to estimating acquisition costs in
12    the federal regulations.
13    BY MR. HENDERSON:
14         Q.       Okay.     And the words estimated acquisition
15    costs, have you interpreted that according to the plain
16    meaning of those words?
17                             MR. GABEL:       Objection; form.
18         A.       Yes.
19    BY MR. HENDERSON:
20         Q.       It means an estimate of acquisition costs;
21    is it fair to say?
22         A.       Yes.


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                                                                           Page 268
 1         Q.       There's no secret to those words; is that
 2    true?
 3                             MR. GABEL:       Objection.
 4                             MR. CYR:      Objection; form.
 5         A.       Not that I'm aware of.
 6    BY MR. HENDERSON:
 7         Q.       Okay.     And in the pharmacy context it refers
 8    to an estimate of the pharmacist's costs of acquiring
 9    the drug?
10         A.       Yes.
11         Q.       Now, in Exhibit 657 at page 4 marked MSA 33,
12    you were asked questions earlier about the language at
13    the top of the page including the sentence, it says:
14    "In other words, pharmacies are guaranteed the EAC
15    price regardless of the cost of the drug."
16                             Do you recall that question and
17    answer, or at least the question?
18         A.       Somewhat, yes.
19         Q.       Okay.     Now, in the case of an estimate of
20    acquisition costs, it is -- I think you said --
21    testified that if the cost of the drug were less than
22    the EAC, they would still get paid the larger amount of


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                                                                           Page 269
 1    the EAC; is that right?
 2         A.       Yes.
 3         Q.       Okay.     If the actual cost of the drug were
 4    more than the EAC amount, would they -- would the
 5    pharmacist get paid less than the actual acquisition
 6    cost?
 7         A.       Yes.
 8         Q.       Okay.     And is that possible in an EAC
 9    reimbursement methodology, that that will occur?
10         A.       I suppose so.
11         Q.       Okay.     Is that something that's inevitable
12    when the department pays based on an estimate of cost?
13         A.       It's unclear to me how frequently or whether
14    it would happen.
15         Q.       Is it --
16         A.       It's possible.
17         Q.       Okay.     When you undertook your -- you did a
18    study then in 1995 looking at actual acquisition costs
19    information.      Do you recall that?
20         A.       Yes.
21         Q.       When you did that study was it your
22    intention to estimate the actual acquisition costs that


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                                                                           Page 271
 1         July 19, 1995 letter
 2         WAS MARKED BY COUNSEL
 3         FOR IDENTIFICATION.)
 4                             MR. GABEL:       Mr. Henderson, I see
 5    this document doesn't have a Bates number on it.                         Has
 6    it been produced to Abbott in this case?
 7                             MR. HENDERSON:         Yes, it has.
 8                             MR. GABEL:       By the DOJ or by
 9    Michigan Medicaid?
10                             MR. HENDERSON:         By Michigan
11    Medicaid.
12    BY MR. HENDERSON:
13         Q.       Do you recognize this document, Ms. Kramer?
14         A.       Yes.
15         Q.       Okay.     This is a -- the letters appear to be
16    a complete copy of one letter and an incomplete
17    identical copy to a different individual dated July 19,
18    1995.
19         A.       I'm unclear whether the last page was
20    actually sent with it.
21         Q.       The last page being what?
22         A.       The very last page Estimated Acquisition


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                                                                           Page 272
 1    Cost (EAC) Study Findings.
 2         Q.       Okay.     Referring you to the third page of
 3    this -- I'm sorry, the page marked attachment page 2.
 4    And you see the section entitled Study Procedures for
 5    Estimated Acquisition Cost and Sole Source Drugs?
 6         A.       Yes.
 7         Q.       Does this summarize the procedures that you
 8    followed when you prepared your study on changing over
 9    to an estimated acquisition cost methodology that would
10    be budget neutral?
11         A.       The best that I can recall and it would have
12    been written shortly after the procedures were actually
13    done, so ....
14         Q.       Okay.     Do you know who wrote this letter?
15         A.       I did.
16         Q.       Okay.     Now, in subparagraph 3E -- do you see
17    that subparagraph on that page?
18         A.       Yeah.
19         Q.       It starts with Further focused.               It states:
20    "Further focused on prescriptions with AWP discounts
21    between AWP minus 20 percent and AWP minus 0 percent."
22                             Then it states in parentheses, "This


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                                                                           Page 273
 1    step was recommended by the Michigan Pharmacists
 2    Association.      It eliminated outlier charges from the
 3    study since these charges were presumed to be billing
 4    errors; however, department staff forwarded these
 5    outliers to audit staff for review," close paren.
 6                             Did that -- does that language
 7    address the same point that you talked about earlier
 8    today when you discussed the representations of the
 9    pharmacists association about certain of the data that
10    you were looking at in Abbott Exhibit 664?
11         A.       Let me see if I can just quick find that.
12                             It would be the second page of 664.
13         Q.       Okay.     So, when you were answering questions
14    about that earlier today and you indicated that you did
15    not use certain of the -- certain of the pricing
16    information that indicated a much deeper discount off
17    of AWP, that was also summarized in this Government's
18    Exhibit 1 here on Paragraph 3E; is that right?
19         A.       Yes.
20         Q.       Okay.     So, is it fair to say that at this
21    time you did not have any general understanding that
22    AWPs were -- were radically inflated over actual


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                                                                           Page 274
 1    acquisition costs?
 2                             MR. GABEL:       Objection; form.             You're
 3    talking about branded or generics?
 4    BY MR. HENDERSON:
 5         Q.       The drugs that were the subject of your
 6    study in 1995?
 7         A.       No, I did not.
 8         Q.       And when you prepared this study, did you
 9    believe that with the discounts that you recommended
10    that the reported AWPs as discounted as you recommended
11    would represent a reasonable estimate of acquisition
12    costs?
13         A.       Yes.
14         Q.       In 1995 did you have any belief about why
15    published AWPs were higher than actual prices?
16         A.       Could you phrase that a little bit
17    differently for me?
18         Q.       In 1995 did you have any belief about why
19    the published average wholesale prices tended to be
20    higher than actual acquisition costs?
21         A.       Did I know why that occurred?
22         Q.       Right.     That's my question.


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                                                                           Page 275
 1         A.       No.
 2         Q.       Okay.     Did you -- did you believe that by
 3    changing to an EAC system that the State was giving
 4    license to drug manufacturers to set reimbursement
 5    levels far above any reasonable estimate of acquisition
 6    costs?
 7                             MR. GABEL:       Objection; form.
 8                             MR. CYR:      Objection.
 9         A.       No.
10    BY MR. HENDERSON:
11         Q.       Would that -- would it have been consistent
12    with State's goal of being a prudent payer for drugs
13    dispensed to Medicaid beneficiaries to allow
14    manufacturers to set reimbursement levels that would be
15    far above acquisition costs?
16         A.       No.
17                             MR. GABEL:       Objection; form.
18                             MR. CYR:      Objection.
19    BY MR. HENDERSON:
20         Q.       The -- there was earlier questions about
21    Exhibit 656, Abbott Exhibit 656.
22         A.       Was that number 656 --


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                                                                           Page 276
 1         Q.       Yes.
 2         A.       --    Mr. Henderson?
 3         Q.       Yes.
 4         A.       Thank you.
 5         Q.       And the accompanying information by Geneva
 6    Pharmaceuticals.
 7                             Did you ever know that Abbott was
 8    reporting AWPs that were 500 percent to 1,000 percent
 9    higher than actual acquisition cost?
10                             MR. GABEL:       Objection; form.
11         A.       No.
12    BY MR. HENDERSON:
13         Q.       Did you ever understand that Dey had a price
14    reporting practice like that?
15                             MR. CYR:      Objection; form.
16         A.       No.
17    BY MR. HENDERSON:
18         Q.       Did you ever understand that Roxane
19    Laboratories was reporting AWPs that were between 300
20    percent and 1,000 percent higher than its actual?
21         A.       No.
22         Q.       If you had known that while you were working


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  1   at the Medical Services Administration, is that
  2   something you would have approved of?
  3                              MR. GABEL:        Objection; form.
  4         A.       No.
  5   BY MR. HENDERSON:
  6         Q.       Is it something that you would have found
  7   desirable?
  8                              MR. GABEL:        Objection; form.
  9                              MR. CYR:       Objection.
10          A.       No.
11    BY MR. HENDERSON:
12          Q.       Is it something that your agency expected
13    manufacturers to do?
14                               MR. GABEL:        Objection.
15                               MR. CYR:       Objection.
16          A.       No.
17    BY MR. HENDERSON:
18          Q.       Now, with regard to a dispensing fee,
19    Michigan pays -- has always paid a dispensing fee to
20    pharmacists as part of the reimbursement; is that
21    right?
22          A.       Since I worked for the Michigan Medicaid


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                                                                           Page 278
 1    program.
 2          Q.      Okay.     And that's in addition to the, at
 3    least since 1995, that's in addition to the EAC
 4    component; correct?
 5          A.      Yes.
 6          Q.      Does the -- what is the dispensing -- what
 7    is your understanding about what the dispensing fee
 8    covers?
 9          A.      I'd have to defer to the policy manual.
10          Q.      Okay.     Do you understand whether it covers
11    the labor involved in dispensing the drug?
12          A.      Yeah.
13          Q.      Do you know whether it covers overhead of
14    the pharmacist?
15          A.      Yes.
16          Q.      Do you know whether it covers profit to the
17    pharmacist?
18          A.      I would have to look into the policy
19    statements.
20          Q.      Okay.     Now, the EAC component, is that
21    different in its objective than the -- is it different
22    in its nature than the dispensing fee component?


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                                                                           Page 279
 1         A.       Yes.
 2                             MR. GABEL:       Objection; form.
 3    BY MR. HENDERSON:
 4         Q.       Is the -- do you have -- is it -- what's
 5    your understanding as to whether or not the EAC
 6    component is intended to compensate the pharmacist for
 7    the time or labor involved in dispensing a drug?
 8         A.       It is not.
 9         Q.       It is not.       Okay.
10                             What is your understanding as to
11    whether the EAC component is intended to provide a
12    profit margin to the pharmacist?
13                             MR. GABEL:       Objection.
14                             MR. CYR:      Objection.
15         A.       It is not.
16    BY MR. HENDERSON:
17         Q.       And what is your understanding as to whether
18    or not the EAC component is meant to pay for the
19    pharmacist's overhead in operating his business?
20         A.       It's not.
21         Q.       And when you recommended the discounts off
22    of AWP in 1995, did you intend to include in that -- in


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                                                                           Page 280
 1    the EAC component that you were developing profit to
 2    the pharmacist?
 3         A.       No.
 4         Q.       Referring you to Abbott Exhibit 654, the
 5    glossary of terms, the -- you were asked in your
 6    earlier testimony about your understanding of the term
 7    average wholesale price.           This language says:             "Average
 8    wholesale price (AWP) is the price of a product as
 9    published by First DataBank."
10                             What do you understand the word
11    price to mean?
12         A.       Pretty general there.           It looks -- it
13    appears at least by this definition what the pharmacy
14    would purchase the drug at.
15         Q.       Okay.     It's -- in your view is it a
16    fictional number with no relation to amounts actually
17    paid for a product?
18                             MR. GABEL:       Objection; form.
19         A.       Is the AWP?
20    BY MR. HENDERSON:
21         Q.       No, the word price.
22         A.       This definition confuses me.              Yeah, it


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